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                                 UNITED STATES DISTRICT COURT                               •' ^0
                                  EASTERNDISTRICTOFVIRGIgfIA : -
                                            Alexandria Division             v      " '          '
                                                                                             -..a


     UNITED STATES OF AMERICA,
                                                  )
                            V.                    )       GRAND JURY 19-3

     JOHN DOE 2010R03793                                  TfNTTER^AT.                    ^Ps C"T"LXD


                  MOTION AND MEMORANDUM OF LAW IN SUPPORT OF AN
           ORDER TO SHOW CAUSE AS TO WHY THE GOVERNMENT'S WRIT
         SUMMONING TESTIMONY AND THIS COURT'S IMMUNITY COMPULSION
                 ORDER SHOULD NOT BE QUASHED,STAYED,OR VACATED


                                      STATEMENT OF MOTION

            Jeremy Hammond, by and through counsel, and pursuant to the First and Fifth

     Amendments to the United States Constitution, and the statutes ofthe United States, hereby

     moves this Court for an order directing the government to show cause as to why its writ

     summoning his testimony and the immunity compulsion order should not be quashed, stayed or

     vacated and why the government should not be required to provide Mr. Hammond with:(1)a

     copy ofthe government's writ,(2) any affmnations or other documents made by the government

     in support ofthe writ and immunity compulsion order, and(3)further detail regarding the scope
     ofthe government's intended questioning. Additionally, counsel respectfully requests that this

     Court set a briefing schedule that will afford Mr. Hammond adequate due process, including time

     to meet with counsel so that he can be advised of his rights and prepare such other and furtlier

     submissions as may be necessaiy to preserve those rights.


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